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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY



   IN RE: INVOKANA (CANAGLIFLOZIN)                       )    3:16-md-02750-BRM-LHG
   PRODUCTS LIABILITY LITIGATION                         )
                                                         )
                                                         )
   THIS DOCUMENT APPLIES TO ALL                          )    JUDGE BRIAN R. MARTINOTTI
   ACTIONS                                               )    JUDGE LOIS H. GOODMAN
                                                         )
                                                         )
                                                         )


    UNOPPOSED MOTION TO ESTABLISH QUALIFIED SETTLEMENT FUND AND
                      APPOINT ADMINISTRATOR


         Seeger Weiss LLP (“SW ”), as counsel for certain Plaintiffs in this MDL 2750, move and

  request the Court to enter an Order to: (1) establish a qualified settlement fund pursuant to Internal

  Revenue Code § 468B and Treasury Regulations § 1.468B-1 et seq., which shall be called the

  “Seeger Weiss Invokana Settlement Fund” (the “QSF”) for the purpose of facilitating the

  settlement of certain tort claims against Defendants Janssen Pharmaceuticals, Inc., Janssen

  Research and Development, LLC, Johnson & Johnson Co., Janssen Ortho, LLC. (“Janssen

  Defendants”) relating to certain alleged diabetic ketoacidosis, acute kidney injury and amputation

  injuries and losses relating to Invokana/Invokamet, and (2) appoint an administrator for the QSF.

  Further, the Janssen Defendants do not oppose or object to this motion.

         A memorandum in support of this motion is set forth below.
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                                    Respectfully submitted,

                                    SEEGER WEISS LLP

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                                          MEMORANDUM

         Seeger Weiss LLP (“SW”) sets forth the following Memorandum in support of its motion

  to establish the Seeger Weiss Invokana Settlement Fund (the “QSF”):

         1.      SW and Defendants Janssen Pharmaceuticals, Inc., Janssen Research and

  Development, LLC, Johnson & Johnson Co., Janssen Ortho, LLC. (“Janssen Defendants”) have

  entered into a Confidential Master Settlement Agreement (“MSA”) to resolve the actions, disputes

  and claims of certain Claimants represented by SW relating to diabetic ketoacidosis, acute kidney

  injury and amputation injuries and losses allegedly suffered by those Claimants in connection with

  Invokana/Invokamet (“Claims”).

         2.      Pursuant to the terms of the MSA, the Janssen Defendants have agreed in principle

  to deposit a confidential settlement amount (the “Settlement Fund”) into a qualified settlement

  fund for the benefit of the Settling Claimants, in full and final satisfaction of all Claims. SW

  moves this Court to establish the QSF in anticipation of same, and to exist as a qualified settlement

  fund under Internal Revenue Code § 468B and Treasury Regulations 1.468B-1 et seq. for the

  purpose of holding the Settlement Fund.

         3.      The QSF shall be a qualified settlement fund under Internal Revenue Code § 468B

  and Treasury Regulations 1.468B-1 et seq. because: (1) the QSF is being established subject to

  approval of this Court and is subject to the continuing jurisdiction of this Court; (2) the QSF is

  being established to resolve or satisfy claims of alleged tort or violation of law arising out of

  Invokana/Invokamet; and (3) the QSF will be an account whose assets will be segregated from the

  general assets of the Janssen Defendants and related persons, and deposited therein.

         4.      SW moves this Court to appoint Archer Systems, LLC, with a business address of

  1775 St. James Place, Suite 200, Houston, TX 77056 (“Archer”), as the administrator

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  (“Administrator”) of the QSF to administer the QSF in accordance with the terms of the MSA and

  agreement entered into between SW and Archer. The Administrator shall also serve as the

  administrator within the meaning of Treasury Regulations § 1.468B-2(k). SW requests that Archer

  serve as the Administrator without bond. The Janssen Defendants do not object to the appointment

  of Archer as the Administrator of the QSF.

         5.      Archer submits to the personal jurisdiction of this Court. The Administrator shall,

  upon request, prepare and deliver to the Court such reports involving the administration of the QSF

  as the Court may request from time to time.

         6.      At this time, the exact allocation among and distributions to the Settling Claimants,

  or any other persons or entities asserting a claim of subrogation or reimbursement, have not been

  finalized. However, as those allocation and distribution decisions take place, it will be in the best

  interest of the Janssen Defendants, SW, and the Settling Claimants to consolidate all settlements

  for management into a single qualified settlement fund. This will afford the parties time to

  determine appropriate distribution amounts among Settling Claimants, as well as identify, resolve,

  and satisfy liens, reimbursement claims, and/or reimbursement rights. The Court should, therefore,

  approve the establishment of the QSF as being in the best interests of the parties and Settling

  Claimants.

         7.      The funds to be held in the QSF are the sole property of the QSF. Until such time

  as funds are distributed from the QSF, the Settling Claimants shall not possess any rights to

  demand or receive any portion of the escrowed funds and shall not possess any right to mortgage,

  pledge, or encumber the same in any manner. To the extent possible, this Motion shall be

  construed so as to prevent the Settling Claimants from being in constructive receipt, as determined

  under federal income tax principles, of any amounts held by the QSF.

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         8.        No distributions shall be made from the QSF except as permitted by the terms of

  the Settlement Agreement.

         9.        SW requests that no bond be required and further requests approval that the

  Settlement Fund be held by Esquire Bank, a federally insured depository institution which has

  been selected by SW, with the consent of Archer, to serve as custodian of the Settlement Fund (the

  “Custodian”). In accordance with instructions provided by the Administrator, the Custodian shall

  invest the Trust Estate in: (i) United States Agency, Government Sponsored Enterprises or

  Treasury securities or obligations (or a mutual fund invested solely in such instruments); (ii) cash

  equivalent securities including SEC registered money market funds and collateralized money

  market accounts; and/or (iii) deposit and similar interest-bearing, or non-interest bearing, accounts

  subject to Federal Depository Insurance Corporation protections as available. The fundamental

  goal of the Administrator is to preserve the Settlement Fund held within the QSF, reduce

  investment costs and fees, and earn a reasonable but safe return on investment of those funds.

         10.       The Custodian shall cause to be prepared and delivered Fund Statements

  (“Statements”) on a monthly and annual basis to interested parties, including SW, and the

  Administrator.     The Statements shall include, without limitation, a statement of receipts,

  investment earnings, and disbursements. The Custodian shall provide the monthly Statements as

  soon as available, but in no event later than ten (10) business days following the end of the month

  to which those statements relate. The Custodian shall provide the annual Statements as soon as

  available, but in no event later than forty-five (45) days following the end of each calendar year.

         11.       The Fund Administrator is to be authorized to effect qualified assignments of any

  resulting structured settlement liability within the meaning of Section 130(c) of the Internal

  Revenue Code to the qualified assignee, and otherwise administer the QSF according to the terms

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  of the Qualified Settlement Fund Agreement, attached hereto as Exhibit A, and to be executed by

  SW and the Administrator in substantial form thereof.

         12.     Upon final distribution of all settlement funds received into the QSF and allocated

  to Settling Claimants, the Administrator shall take appropriate steps to wind down the QSF and

  thereafter be discharged from any further responsibility with respect to the QSF.              The

  Administrator may, but shall not be obligated to, seek a final order of discharge from this Court.

                                              CONCLUSION

         For the reasons stated above, SW respectfully requests that the Court approve

  establishment of the QSF as a qualified settlement fund, and enter an Order in the form submitted

  herewith.



  November 13, 2018                                     Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on November 13, 2018 a copy of the foregoing UNOPPOSED
  MOTION TO ESTABLISH QUALIFIED SETTLEMENT FUND AND APPOINT
  ADMINISTRATOR was electronically filed with the Clerk of the Court using the CM/ECF
  system, which will send notification of such filing to the CM/ECF participants registered to receive
  service in this MDL.



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